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                                          U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007



                                                     April 8, 2022
                                     Oral argument is adjourned to April 25, 2022 at 2 p.m. at the
                                     Thurgood Marshall Untied states Courthouse, 40 Foley Square,
BY ECF
Honorable Edgardo Ramos              New York, New York 10007, Courtroom 905.
United States District Judge         SO ORDERED.
Southern District of New York
40 Foley Square
New York, New York 10007                                                            4/8/2022


       Re:         United States v. Mark S. Scott, S10 17 Cr. 630 (ER)

Dear Judge Ramos:

        On April 7, 2022, the Court scheduled oral argument on the defendant’s post-trial motions
for April 14, 2022, see ECF No. 469. Due to a scheduling conflict for both parties, the parties
respectfully submit this letter to request the Court adjourn the oral argument until April 25, 2022.


                                      Very truly yours,

                                      DAMIAN WILLIAMS
                                      United States Attorney

                              By:                /s/
                                      Nicholas Folly / Michael McGinnis / Juliana Murray
                                      Assistant United States Attorneys
                                      (212) 637-1060 / 2305 / 2314
